On August 18, 1994, appellant, Lawrence E. Butcher, pleaded guilty to one count of sexual battery, a felony of the third degree, in violation of R.C. 2907.03, and one count of gross sexual imposition, a felony of the fourth degree, in violation of R.C. 2907.05. In a judgment entry filed on October 6, 1994, the Lake County Court of Common Pleas sentenced appellant to a definite term of incarceration of two years on the sexual battery count, and a definite term of one and one-half years on the gross sexual imposition count. The sentences were ordered to be served consecutively.
On February 11, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. Appellant timely appealed from this judgment, asserting that the current version of R.C. Chapter 2950 is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for proceedings consistent with this opinion.
                                ______________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.